          Case 1:17-cv-00992-KBJ Document 22 Filed 07/31/17 Page 1 of 9



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL INDUSTRIES FOR THE
 BLIND, et al.,

                        Plaintiffs,

                v.                                    Civil Action No. 1:17-cv-00992-KBJ

 THE DEPARTMENT OF VETERANS
 AFFAIRS, et al.,

                        Defendants,


   PLAINTIFFS’ OPPOSITION TO THE DEPARTMENT OF VETERANS AFFAIRS’
                  MOTION TO STAY THE PROCEEDINGS

       “On a motion for stay, it is the movant’s obligation to justify the court’s exercise of such

an extraordinary remedy.” Cuomo v. U.S. Nuclear Regulatory Comm’n, 772 F.2d 972, 978 (D.C.

Cir. 1985). The Department of Veterans Affairs (“VA”)—which argues that this Court should

stay this action pending final disposition of a bid protest decided by the Court of Federal Claims

and currently on appeal to the Federal Circuit, PDS Consultants, Inc. v. United States, No. 16-cv-

1063-NBF (Fed. Cl.)—has failed to demonstrate that such a remedy is appropriate here. As a

result, its motion should be denied.

       The VA’s characterization of PDS as a “factually related case” subject to the “first-filed

rule” is misplaced. This rule does not apply here because the cases involve different parties,

different claims, and different requests for relief. Plaintiffs here—National Industries for the Blind

(“NIB”), Bosma Industries for the Blind, Inc. (“Bosma”), and Winston-Salem Industries for the

Blind, Inc. (“IFB”)—have challenged the legality of the VA’s March 2017 Class Deviation under

the Administrative Procedure Act (“APA”), including a challenge to the procedures by which the


                                                  1
             Case 1:17-cv-00992-KBJ Document 22 Filed 07/31/17 Page 2 of 9



VA promulgated the Class Deviation. Plaintiffs seek injunctive and declaratory relief prohibiting

enforcement of the 2017 Class Deviation. In PDS, on the other hand, plaintiff PDS filed a bid

protest challenging application of the 2016 Class Deviation with respect to only four contracts.

Although the 2017 Class Deviation was ultimately issued and then addressed by the Court of

Federal Claims, the court simply did not have occasion, let alone jurisdiction, to adjudicate the

lawfulness of the 2017 Class Deviation or grant the equitable relief requested in this case. No

matter what happens in PDS on appeal, this Court will still be required to adjudicate the merits of

this case.

        Moreover, the VA’s motion fails to meet this Court’s requirement that “[t]he party

requesting such a stay must make out a clear case of hardship or inequity in order to prevail.” GFL

Advantage Fund, Ltd. v. Colkitt, 216 F.R.D. 189, 193 (D.D.C. 2003) (citing Landis v. N. Am. Co.,

299 U.S. 248, 255 (1936)). The VA has not even attempted to carry this heavy burden and ignores

that staying this action will result in significant hardship for Plaintiffs. A stay will permit the VA

to conduct procurements according to the unlawful 2017 Class Deviation and deny Plaintiffs IFB

and Bosma contracts for which they are the mandatory source of supply until the PDS appeal has

reached its conclusion—likely more than a year from now. IFB and Bosma will suffer irreparable

harm if they lose contracts the VA would otherwise be obligated to award to them as a result of

the arbitrary and capricious 2017 Class Deviation.

        Because the first-filed rule does not apply to this case, and the VA has not established that

it would suffer hardship in the absence of a stay, the VA’s motion should be denied.

                                         BACKGROUND

        This case arises from the VA’s issuance of a Class Deviation on March 1, 2017. Prior to

that date, the VA complied with the Javits-Wagner-O’Day (“JWOD”) Act, 41 U.S.C. § 8504(a),



                                                  2
          Case 1:17-cv-00992-KBJ Document 22 Filed 07/31/17 Page 3 of 9



by granting procurement priority to items on the U.S. AbilityOne Commission Procurement List,

which consists of products and services from designated qualified nonprofit agencies dedicated to

training and employing individuals with disabilities. In 2006, Congress passed the Veterans

Benefits, Health Care, and Information Technology Act (“VBA”). One provision of the VBA

mandated that the VA restrict a procurement to veteran-owned small businesses if there is a

reasonable expectation that two or more small business concerns owned and controlled by veterans

will submit offers. 38 U.S.C. § 8127(d). For more than a decade following passage of the VBA,

the VA continued to recognize the priority status of products and services on the Procurement List.

But, on March 1, 2017, the VA reversed course and issued its Class Deviation, which reserved

priority status only to those products and services added to the Procurement List before January

2010.

        Plaintiffs here allege that the 2017 Class Deviation violated the APA because it was

“arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law,” “in excess

of statutory jurisdiction, authority, or limitations,” or “without observance of procedure required

by law.” Compl. ¶ 39 (quoting 5 U.S.C. § 706(2)). Specifically, Plaintiffs allege that the 2017

Class Deviation conflicts with the JWOD Act, that the VA departed from an existing rule and

policy without reasoned explanation, and that the VA failed to comply with notice-and-comment

requirements in the APA, Office of Federal Procurement Policy Act (“OFPPA”), and Federal

Acquisition Regulation (“FAR”). Id. ¶¶ 40-43. If allowed to remain in place, the 2017 Class

Deviation will harm NIB, by reducing the number of contracts awarded to its associated nonprofit

agencies, and Bosma and IFB by reducing the VA’s orders of their products and services. Id. ¶¶ 8-

10. Plaintiffs asked the Court for a declaration that the 2017 Class Deviation violates the APA,

OFPPA, and the FAR and for a permanent injunction prohibiting its enforcement.



                                                 3
          Case 1:17-cv-00992-KBJ Document 22 Filed 07/31/17 Page 4 of 9



       The ongoing bid protest that the VA argues justifies a stay of the instant case was filed on

August 25, 2016 in the Court of Federal Claims and challenged the VA’s award or intended award

of four contracts to IFB based on the 2016 Class Deviation. Specifically, the plaintiff, PDS

Consultants, challenged the VA’s purchase of eyeglasses and related products from IFB in

accordance with the JWOD Act, the Procurement List, and the VA’s then-current policy, arguing

that the VBA required the VA to prioritize veteran-owned small businesses in the procurements at

issue and that the VA’s policy granting priority to items on the Procurement List was unlawful.

The VA issued the 2017 Class Deviation during this litigation, but the court rejected the VA’s

application of the Class Deviation to two IFB contracts for items added to the Procurement List

prior to January 2010. The court held that the VBA trumps the JWOD Act with respect to all VA

procurements. IFB, an intervenor-defendant in PDS, has appealed the decision to the Federal

Circuit. See Notice of Appeal, PDS, No. 16-cv-1063 (Fed. Cl. filed July 28, 2017) (Dkt. No. 91).

                                           ARGUMENT

       The VA presents only one argument in support of its motion to stay the proceedings before

this Court: that PDS is a “factually related case,” and, thus, this action should be stayed under the

“first-filed rule.” Dkt. No. 20-1 at 10-11.1 The motion should be rejected for two reasons. First,

PDS is not a factually related case, and the first-filed rule therefore does not apply. Second, the



1
   The VA also asserts in conclusory fashion that the “more general[]” principle that “parallel
litigation of factually related cases in separate fora is inefficient” favors a stay. See Dkt. No. 20-1
at 9 (quoting Handy v. Shaw, Bransford, Veilleux & Roth, 325 F.3d 346, 349 (D.C. Cir. 2003)).
Of course, the Court has the inherent power to stay proceedings for reasons of efficiency. See Air
Line Pilots Ass’n v. Miller, 523 U.S. 866, 879 n.6 (1998). But the VA does not explain how it is
inefficient to proceed in a case involving different parties with different claims than those at issue
in PDS. These claims will have to be heard by this Court at some point in time. More importantly,
as explained in Section II, the VA bears the burden of establishing that it will suffer hardship in
the absence of a stay, especially because the Plaintiffs will suffer hardship as long as the 2017
Class Deviation remains in place. The VA’s exclusive reliance on efficiency concerns does not
meet this burden.
                                                  4
           Case 1:17-cv-00992-KBJ Document 22 Filed 07/31/17 Page 5 of 9



VA has not carried its heavy burden to show that it would be harmed in the absence of a stay.

Proving hardship is particularly necessary where, as here, the stay would harm the non-moving

party.

I.       The First-Filed Rule Does Not Apply To This Case.

         As the VA explained in its brief, under the first-filed rule, “[c]onsiderations of comity and

orderly administration of justice dictate that two courts of equal authority should not hear the same

case simultaneously.” Dkt. No. 20-1 at 8 (emphasis added) (quoting Washington Metro. Area

Transit Auth. v. Ragonese, 617 F.2d 828, 830 (D.C. Cir. 1980)). In other words, the first-filed rule

applies “where two cases between the same parties on the same cause of action” are proceeding

in different courts. Id. (emphases added). For example, the court in UtahAmerican Energy, Inc.

v. Department of Labor held that a stay was appropriate where the same plaintiff filed FOIA suits

in two courts seeking the same documents. 685 F.3d 1118, 1124 (D.C. Cir. 2012). In Furniture

Brands International, Inc. v. U.S. International Trade Commission, there was “no question” the

cases involved the same parties and same cause of action, because, “[i]n both cases, plaintiff

contend[ed] that the [statutory] definition of ‘affected domestic producer’ violate[d] the First

Amendment” and sought the same relief from the courts. 804 F. Supp. 2d 1, 4 (D.D.C. 2011).

And, in International Painters & Allied Trades Industry Pension Fund v. Painting Co., the parallel

case involved the same parties and the same “underlying contractual obligations.” 569 F. Supp.

2d 113, 116 (D.D.C. 2008).

         This case does not meet the requirements of the first-filed rule because the parties are not

identical and the cause of action is separate and distinct from the cause of action in PDS. Indeed,

by the VA’s own admission, the parties “overlap significantly” but are not identical, and the cause

of action in PDS merely “bears upon the instant case.” Dkt. No. 20-1 at 10. With respect to the



                                                   5
          Case 1:17-cv-00992-KBJ Document 22 Filed 07/31/17 Page 6 of 9



first first-filed rule criterion, the parties in PDS were PDS, the United States, and IFB. Because

NIB and Bosma were not parties in PDS, the first-filed rule cannot apply to their claims before

this Court.

       The causes of action and requests for relief in the two cases are also entirely different. All

the Plaintiffs here have asserted claims and sought relief pursuant to the APA that were not only

not at issue in PDS, but were outside the jurisdiction of the Court of Federal Claims. Specifically,

Plaintiffs seek invalidation of the 2017 Class Deviation under the APA and have alleged that the

VA did not supply an adequate explanation for its policy reversal and did not comply with notice-

and-comment rulemaking requirements. Compl. ¶¶ 41-42. Plaintiffs seek a declaratory judgment

that the 2017 Class Deviation violates the APA, OFPPA, and the FAR, and they also seek a

permanent injunction against enforcement of the 2017 Class Deviation.

       PDS, on the other hand, involves a much narrower challenge. There, the plaintiff brought

a bid protest pursuant to 28 U.S.C. § 1491(b)(1), alleging that the VA’s application of the relevant

statutes with respect to four contracts awarded or to be awarded to IFB was contrary to law. PDS

Consultants, Inc. v. United States, 132 Fed. Cl. 117, 125 (2017). The court was thus not confronted

with APA claims. In fact, the court could not have addressed such claims because “the APA grants

jurisdiction over judicial review of final agency decisions to the United States district courts and

not the United States Court of Federal Claims.” Faison v. United States, 102 Fed. Cl. 637, 641

(2012) (citing McNabb v. United States, 54 Fed. Cl. 759, 767 (2002)). Nor did the Court of Federal

Claims have jurisdiction to order the declaratory or injunctive relief requested here. Id. at 643.

Thus, the court in PDS not only did not address the relevant issues in this APA case, it lacked

jurisdiction to address them.




                                                 6
          Case 1:17-cv-00992-KBJ Document 22 Filed 07/31/17 Page 7 of 9



       The VA also misapplies the equitable factors that must be considered even assuming,

arguendo, that the cases are factually related. The VA argues that the nine-month difference

between the filing of each action favors application of the first-filed rule. Dkt. No. 20-1 at 11.

But, of course, Plaintiffs could not have challenged the Class Deviation until it was issued in March

2017—six months after PDS filed its bid protest at the Court of Federal Claims. This sequence of

events only underscores the distinct causes of action in the two cases. The PDS case did not even

involve the regulatory action at issue here when it was first filed.

       The VA’s contention that this Court should defer ruling on Plaintiffs’ claims until a court

with “expertise as to federal contracting issues” has resolved PDS is also without merit. Id. Again,

the VA ignores the differences in the causes of action. PDS is a bid protest requiring expertise in

federal contracting issues. The Federal Circuit will not address Plaintiffs’ APA claims in the PDS

appeal because they were not before the Court of Federal Claims in the bid protest, and it lacks

jurisdiction to do so. This is an APA case no different than any of the many APA cases this Court

adjudicates on a regular basis. There is nothing unique about federal contracting law that would

render this Court incapable of addressing Plaintiffs’ claims.

       Finally, a stay based on the outcome of a collateral proceeding is appropriate only where

the other proceeding’s effect on the underlying action is certain. See Wrenn v. Dist. of Columbia,

179 F. Supp. 3d 135, 140 (D.D.C. 2016) (“Once again, if it were certain that a decision on the

interlocutory appeal would moot these proceedings, then going forward in this case at this time

would be a needless use of judicial resources. But the impact of any such decision is, in actuality,

far from certain.” (emphasis in original)). Here, given that the parties, causes of action and

jurisdictions of the trial courts differ, the outcome of the PDS case will not—and cannot—




                                                  7
          Case 1:17-cv-00992-KBJ Document 22 Filed 07/31/17 Page 8 of 9



extinguish the need for any further proceedings in this case. At most, PDS will result in another

nonbinding decision addressing the issues before this Court.

II.    The VA Has Not Carried Its Burden To Show Hardship In The Absence Of A Stay.

       The VA also ignores its burden, as the moving party, to justify the extraordinary remedy

of a stay of all proceedings. Wrenn, 179 F. Supp. 3d at 139-40. “[A] party requesting a stay of

proceedings ‘must make out a clear case of hardship or inequity in being required to go forward,

if there is even a fair possibility that the stay for which he prays will work damage to some one

else.’” Id. at 137 (quoting Landis, 299 U.S. at 255). The VA has not even attempted to show any

hardship that would result for the agency from continuation of this case.

       In contrast, the stay the VA seeks will work significant damage on Plaintiffs because it will

leave in place the VA’s 2017 Class Deviation that deprives IFB and Bosma of contracts they

otherwise would be awarded as the mandatory sources of supply under the JWOD Act and

decreases the associated fees paid to NIB. Now that an appeal has been noticed in PDS, this

deprivation could conceivably last for years and have a devastating effect on Plaintiffs.

Procurements by the VA account for approximately 97 and 22 percent of Bosma and IFB revenues,

respectively. Compl. ¶ 36. The stay requested by the VA threatens more than “a fair possibility”

of hardship for the Plaintiffs. Wrenn, 179 F. Supp. 3d at 137. Leaving the 2017 Class Deviation

in place “threatens the very existence” of the Plaintiffs’ businesses. Wisconsin Gas Co. v.

F.E.R.C., 758 F.2d 669, 674 (D.C. Cir. 1985) (explaining when economic loss constitutes

irreparable harm).

       In light of the damage the stay would cause Plaintiffs, the VA is required to “make out a

clear case of hardship or inequity in being required to go forward.” Wrenn, 179 F. Supp. 3d at

139. This the VA has not done.



                                                 8
         Case 1:17-cv-00992-KBJ Document 22 Filed 07/31/17 Page 9 of 9



                                        CONCLUSION

       The Plaintiffs respectfully ask the Court to deny the VA’s motion to stay.

                                              Respectfully submitted,

Date: July 31, 2017                           /s/ Stephen J. Obermeier_______________
                                              Stephen J. Obermeier (D.C. Bar No. 979667)
                                              Tracye Winfrey Howard (D.C. Bar No. 983132)
                                              Samantha S. Lee (D.C. Bar No. 1009162)
                                              Stephen J. Kenny (D.C. Bar No. 1027711)
                                              George E. Petel (D.C. Bar No. 1028877)
                                              WILEY REIN LLP
                                              1776 K Street, NW
                                              Washington, DC 20006
                                              Tel.: (202) 719-7000
                                              Fax: (202) 719-7049

                                              Attorneys for Plaintiffs National Industries for the
                                              Blind, Bosma Industries for the Blind, and Winston-
                                              Salem Industries for the Blind

Of counsel:

Thomas F. Bedsole
FROST BROWN TODD LLC
201 North Illinois Street, Suite 1900
Indianapolis, IN 46244-0961
Tel.: (317) 237-3842
Fax: (317) 237-3900
tbedsole@fbtlaw.com
Attorney for Bosma Industries for the Blind

James K. Kearney (D.C. Bar No. 238147)
WOMBLE CARLYLE
8065 Leesburg Pike, Fourth Floor
Tysons Corner, VA 22182
Tel.: (703) 394-2214
Fax: (703) 918-2269
jkearney@wcsr.com
Attorney for Winston-Salem Industries for the Blind




                                                 9
